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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


MICHAEL COLLINS, et al.                                                               PLAINTIFFS


v.                                                                          NO. 3:20-CV-375-CRS


MICHAEL ADAMS, in his Official Capacity
As Secretary of State of Kentucky, et. al.                                          DEFENDANTS



                                              ORDER



         Before the Court are a number of motions including (1) a motion to dismiss the complaint

filed by Albert Benjamin Chandler III, in his official capacity as Chairman of the Kentucky

Board of Elections (DN 19), (2) a motion to intervene as a defendant by Attorney General Daniel

Cameron (DN 28), and a motion for preliminary injunction filed by the plaintiffs, Michael

Collins, et al. (DN 30). None of these motions are fully briefed at this date.

         This action raises constitutional challenges to the election processes anticipated to be put

in place for the November 3, 2020 National election in Kentucky, a mere sixteen weeks from

today.

         It is therefore ORDERED that this matter is scheduled for a STATUS CONFERENCE

to be conducted by Zoom videoconference on Wednesday, July 22, 2020 at 2:00 p.m. EDT.

Technical details necessary to connect to the Zoom conference will be provided to counsel of

record by separate email.
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        Members of the public may request audio access to the virtual status conference through the following
procedure:

        1.   Send an email requesting audio access to:
             Intake-kywecf@kywd.uscourts.gov

        2.   On the subject line of your email, please insert the following information:
             “Remote Access to Wednesday, July 22, 2020 Status Conference in Collins, et al. v. Adams, et al.”

         You will receive an email response with a dial-in phone number and Meeting ID which you may use to
access the conference.




IT IS SO ORDERED.

                          July 14, 2020
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